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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

       Plaintiff,

 v.                                              Case No. 11-20129

 D-20 TONY WAYNE KITCHENS,

      Defendant.
 _________________________/

              ORDER FOR RELEASE OF DEFENDANT TONY KITCHENS

       On February 8, 2016, the court ordered Defendant Tony Kitchens committed to

 the custody of the Attorney General for a competency examination. The examination

 has been completed and the court has set a bond hearing for September 27, 2016. The

 court has also ordered that Defendant Kitchens arrange for his own transportation and

 self report for the hearing. (See 9/15/2016 Minute Dkt. Entry.) Accordingly,

       IT IS ORDERED that the Federal Medical Center shall release Tony Kitchens on

 or before September 19, 2016. All conditions of his bond remain in effect until he has

 appeared for the hearing on September 27, 2016.

                                           S/Robert H. Cleland
                                          ROBERT H. CLELAND
                                          UNITED STATES DISTRICT JUDGE
 Dated: September 16, 2016

 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, September 16, 2016, by electronic and/or ordinary mail.

                                           S/Lisa Wagner
                                          Case Manager and Deputy Clerk
                                          (313) 234-5522
